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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

HASELECT MEDICAL RECEIVABLES          )
LITIGATION FINANCE FUND               )
INTERNATIONAL, SP and GRIFFIN         )
ASSET MANAGEMENT, LLC,                )
                                      )
              Plaintiffs,             )       No. 22-cv-4269
                                      )
       v.                             )       Judge Blakey
                                      )
                                      )
SIMON HENRY CLARK,                    )
an Individual                         )       Magistrate Judge Fuentes
                                      )
              Defendant.              )
____________________________________)
                                      )
SIMON HENRY CLARK,                    )
                                      )
              Counter-Plaintiff and   )
              Third-Party Plaintiff,  )
                                      )
       v.                             )
                                      )
GRIFFIN ASSET MANAGEMENT, LLC, )
                                      )
              Counter-Defendant,      )
                                      )
       and                            )
                                      )
MICHAEL GRIFFIN,                      )
DEBORAH GRIFFIN                       )
                                      )
              Third-Party Defendants. )

                      SIMON HENRY CLARK’S
         AMENDED COUNTERCLAIM AND THIRD-PARTY COMPLAINT

      NOW COMES Counter-Plaintiff/Third-Party Plaintiff, SIMON HENRY CLARK

(“Clark”), by and through his attorneys, SWANSON, MARTIN & BELL, LLP, and for his

Amended Counterclaim and Third-Party Complaint against GRIFFIN ASSET MANAGEMENT,

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LLC (“GAM”), MICHAEL GRIFFIN (“Michael Griffin”), and DEBORAH GRIFFIN (“Debbie

Griffin”), and states as follows:

                                         INTRODUCTION

       1.      For almost a decade, Michael Griffin misled and lied. Michael Griffin first misled

his business partners as they helped him build the eponymously named Griffin Asset Management.

Then, after his business partners, including Simon Clark, left GAM, he began lying to his investors.

The house of cards fell, and now all of the funds set up by GAM are shuttered, with rumors of SEC

investigations swirling around them.

       2.      In his efforts to avoid the inevitable, Michael Griffin caused GAM to breach its

contract with Clark, then when he left, Michael Griffin and GAM, together with Debbie Griffin

defamed Clark in an effort to ruin his reputation. As a result, Clark has incurred considerable

reputational and monetary damages.

                                          THE PARTIES

       3.      Simon Clark has spent the last forty years developing a well-earned reputation as

an honest and reliable international wealth manager. Clark has managed wealth in the United

States, Europe, Asia, and South America, and held leadership positions with S.G. Warburg,

Deutsche Bank, and Bank of America. Starting in the 1980s, Clark assisted with the transition of

English Merchant bank into an industry leading investment firm known as Mercury Securities.

That same decade, he assisted S.G. Warburg in its merger with Deutsche Bank to create a global

financial institution. In the 1990s, Clark worked with the NationsBank acquisition team, which led

to work involving the purchase of Montgomery Securities in 1997 and Bank of America in 1998.

With the Bank of America acquisition, he moved to the west coast where he built out wealth

management and private banking capabilities for the burgeoning IBank.



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        4.       From 2002 to 2007, Clark ran Private Bank and Wealth Management Group for

First Republic Bank prior to its acquisition by Merrill Lynch. In 2007, Lloyds Bank recruited him

to oversee the merger of that company’s Private Bank with the Bank of Scotland, thereby creating

a $27 billion investment, trust, and credit wealth management group. Clark is a resident of the state

of North Carolina.

        5.       GAM is an Illinois Limited Liability Company with its principal place of business

in La Grange, Illinois. GAM manages numerous hedge funds which are subsidiaries of GAM and

for which GAM receives a performance fee. Of the ten known funds managed by GAM, all ten

are closed or currently in bankruptcy.

        6.       Michael Griffin, upon information and belief, is an individual and a citizen of the

state of Illinois. Griffin is the sole manager of GAM.

        7.       Debbie Griffin, upon information and belief, is an individual and a resident of the

state of Illinois.

                                           JURISDICTION

        8.       This Court has ancillary jurisdiction herein pursuant to 28 U.S.C. § 1367.

                                FACTS RELEVANT TO ALL COUNTS

Clark Joins GAM

        9.       On December 16, 2016, Chadwick Meyer, as President of GCM, offered Clark a

position to join the senior leadership team at HedgeACT Select, LLC (“HedgeACT”). (Exhibit 1).

        10.      As compensation for accepting the December 16, 2016 offer, Clark was to be

compensated with equity and cash compensation. This compensation was associated with the

performance of HedgeACT and HASelect-FTM Medical Receivables Litigation Finance Fund

International, SP (“HASelect”). (Exhibit 1).



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       11.     Clark’s role included the development of an international fund, which became

HASelect.

       12.     Clark’s responsibilities included “utiliz[ing his] talents, experience, and network to

pursue all aspects of increasing assets: direct selling, hiring and managing sales associates,

recruiting fund managers, and developing strategic partnerships . . . .”. (Exhibit 1).

       13.     Clark accepted this offer and began working with HASelect as an independent

contractor in 2017.

       14.      Clark performed all of his responsibilities under the terms of the independent

contractor agreement.

GAM Controlled HASelect At All Times

       15.     GAM received management fees from its investment funds, which included

investments managed by HASelect, while a separate entity, Griffin Capital Management, LLC

(“GCM”) collected performance fees.

       16.     GCM was the managing member of HedgeACT.

       17.     Griffin was the CEO of GAM, GCM, HASelect, HedgeACT and other similarly

situated subsidiaries.

Clark Becomes a Member of GAM

       18.     Clark performed under the terms of the 2016 Agreement, but only after

considerable delay did Michael Griffin and GAM partially fulfill its obligations to Clark by

providing some of the promised equity interest in GAM and GCM to Clark in 2019. (Exhibit 2).

       19.     Under the terms of the Operating Agreement executed by Clark and Michael

Griffin, Clark obtained Class B and Class C Interests in GAM and GCM, and continues to retain

Economic Interests in the same. (Exhibit 2).



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        20.    Pursuant to the Operating Agreement, GAM is a manager-managed LLC and

Michael Griffin is the sole Manager. (Exhibit 2, VII.1).

        21.    As Manager of GAM, Michael Griffin was to “refrain[] from engaging in grossly

negligent or reckless conduct, intentional misconduct, or a knowing violation of the law which

results or shall have resulted in material loss or injury to the Property or operations of the

Company.” (Exhibit 2, VIII.1).

Clark Develops Investors for HASelect

        22.    Chadwick Meyer a member of GAM and of its senior leadership, had introduced

Clark to Will Martin (“Martin”), who operated Altos Investments and subleased space from

another company, Three Bell Capital (“Three Bell”).

        23.    When Clark began working for HedgeACT, he was in charge of business

development for HASelect, and took it upon himself to build a relationship with Three Bell and

got to know Martin.

        24.    In or around March 2017, Clark met with Martin, who stated that he was able to

work with HASelect, but that John Porter (“Porter”) of Three Bell had another relationship at that

time.

        25.    Clark continued to communicate more frequently with Porter and Eric Patterson

(“Patterson”) of Three Bell, and ultimately befriended them.

        26.    Clark cultivated a personal and professional relationship with Porter and Patterson

prior to Three Bell ever becoming a client of GAM.

        27.    Over the time Clark spent building the relationship with Three Bell, Three Bell

became interested in setting up a medical fund with HASelect.

        28.    Because of the trust, relationship, and friendship Clark developed with Martin and



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Porter, Clark brought Three Bell on as a client and build an asset base for GAM.

       29.     Three Bell’s fund structure with HASelect included a fund and a fund of funds. The

fund of funds charged a platform fee and a management fee, causing Three Bell to be charged at

both the fund level and the fund of fund level.

Michael Griffin’s Reckless Mismanagement Causes Clark’s Departure

       30.     Because of its relationship with Clark, Three Bell became interested in a

relationship with HASelect and ultimately provided a significant source of funds allowing

HASelect and the other entities operated by GAM and GCM to make investments.

       31.     Michael Griffin began to undermine the relationship between GAM and Three Bell

Capital, and declared the Three Bell account an in-house account.

       32.     Michael Griffin’s decision breached the contract between GAM and Griffin, and

deprived Clark of additional equity in GAM that he was entitled to from the development of his

relationship with Three Bell.

       33.     Griffin then took additional steps to undermine Clark’s relationship with Three

Bell, for example on or about January 28, 2020, Three Bell approached Griffin, as CEO of GAM,

to discuss putting the associated fees in line with the market rates.

       34.     Three Bell was the primary source of assets for HedgeAct and yet Griffin

unilaterally, and without any consultation with or input from Clark, insisted on charging Three

Bell fees in excess of market standards.

       35.     In fact, without notifying Clark, who had brought on Three Bell and was

responsible for the Three Bell relationship, Michael Griffin, as CEO of GAM, had unilaterally

increased the performance fees several times, further straining the relationship with Three Bell.

       36.     Michael Griffin also threatened Three Bell that he would take all of their assets if



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he desired.

       37.     This grossly negligent management of the relationship led to the deterioration of

the relationship with Three Bell, a major client of GAM.

Clark Leaves

       38.     Michael Griffin’s intentional misrepresentations to the clients and the deterioration

of these business relationships due to Michael Griffin’s actions caused Clark to be damaged

financially and by reputation.

       39.     Because of Michael Griffin’s intentional damage to these business relationships,

Clark lost his earning capacity as a member of GAM and President of HASelect.

       40.     As such, Clark was left with no other option but to resign from his position and did

so on February 20, 2020.

       41.     After Clark’s departure, Michael Griffin and Debbie Griffin began telling people

that they had requested his resignation because Clark refused to adhere to GAM’s corporate

policies, including its expense policies. Debbie Griffin also defamed Clark by stating that he had

failed to perform his obligations at GAM.

                                        COUNT I
                                BREACH OF CONTRACT
                           (AGAINST GRIFFIN ASSET MANAGEMENT)

       42.     Clark repeats and realleges Paragraphs 1-41 as Paragraph 42 of Count I.

       43.     GAM and Clark entered into a binding agreement under which Clark was entitled

to additional compensation based on performance.

       44.     The agreement between GAM and Clark included a mutual understanding that

Clark would receive additional equity in GAM for bringing in new clients.

       45.     Clark developed a relationship with Three Bell that led to additional assets for



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GAM, therefore Clark performed under the agreement.

        46.    GAM breached the agreement by denying that Clark was responsible for the

additional assets.

        47.    GAM further breached the agreement by violating the contractual duty of good faith

and fair dealing by failing to take reasonable measures to maintain the relationship with Three

Bell.

        48.    By denying Clark the additional compensation and then mishandling the

relationship and assets of Three Bell, GAM purposely and intentionally interfered damaged

Clark’s earnings capacity in breach of their agreement.

                                     COUNT II
                     TORTIOUS INTERFERENCE WITH CONTRACT
                             (AGAINST MICHAEL GRIFFIN)

        49.    Clark repeats and realleges Paragraphs 1-48 as Paragraph 49 of Count II.

        50.    Upon information and belief, Three Bell was the largest contributor of assets to

HASelect.

        51.    Michael Griffin was aware of Clark’s relationship with Three Bell, Clark’s

responsibility for bringing the Three Bell relationship to GAM, and GAM’s agreement with Clark

for additional compensation.

        52.    Despite this knowledge, Michael Griffin purposely and intentionally interfered with

Clark’s contract with GAM by attempting to destroy Clark’s reputation and business relationship

with Three Bell.

        53.    Not only did Michael Griffin interfere with this relationship as set out above, upon

information and belief, GAM and Griffin classified Three Bell as a house account so that Clark

would not be owed an additional 2% fee that he was entitled to for bringing Three Bell on as a



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client.

          54.      The misconduct of GAM and Michael Griffin was fraudulent and intentional in

nature, or at least with such gross negligence as to indicate a wanton disregard for the rights of

Clark and his contract with GAM.

          55.      As a result of Michael Griffin’s actions, GAM did not award Clark the agreed to

additional compensation.

          56.      As a result of Michael Griffin’s actions, Clark has suffered economic damages

through the loss of compensation from GAM, as well as damage to his personal professional

reputation.

                                          COUNT III
                                    BUSINESS DEFAMATION
                         (AGAINST DEFENDANT GRIFFIN ASSET MANAGEMENT)

                57. Clark repeats and realleges Paragraphs 1-56 as Paragraph 57 of Count III.

                58. GAM and Griffin have knowingly made several negative, misleading, and false

misrepresentations regarding Clark’s character and circumstances surrounding his departure from

HedgeACT to numerous third parties.

                59. GAM and Griffin knew or should have known that their statements would injure

Clark’s reputation, business, and standing within the industry.

                60. The misconduct of GAM and Griffin was fraudulent and intentional in nature, or at

least with such gross negligence as to indicate a wanton disregard for the rights of Clark.

                61. GAM and Griffin’s misrepresentations have injured Clark and caused him damages

in an amount to be proven at trial.

          WHEREFORE, Counter-Plaintiff/Third-Party Plaintiff, SIMON HENRY CLARK,

respectfully requests this Court find in his favor and against Counter-Defendant, GRIFFIN ASSET



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MANAGEMENT, LLC, and Third-Party Defendant, MICHAEL GRIFFIN, and enter an order

providing the following:


       a.     Entering a judgment against GRIFFIN ASSET MANAGEMENT, LLC for
              punitive and compensatory damages arising from its defamation of SIMON
              HENRY CLARK in an amount to be established at trial;


       b.      Awarding punitive damages against GRIFFIN ASSET MANAGEMENT,
              LLC and MICHAEL GRIFFIN, individually, to deter them and others from
              committing similar acts;

       c.     Awarding SIMON HENRY CLARK the costs of this action, including but
              not limited to attorneys’ fees, expert fees, and any other reasonable expenses
              incurred in the litigation as a result of the wrongful conduct of GRIFFIN
              ASSET MANAGEMENT, LLC and MICHAEL GRIFFIN, individually;
              and

       d.     Awarding all other relief this Court deems just and proper.


                                         JURY DEMAND

       Counter-Plaintiff/Third-Party Plaintiff, SIMON HENRY CLARK, demands trial by jury.

                                                            Respectfully submitted,




                                                    By:     ________________________
                                                            Counsel for Counter-Plaintiff/
                                                            Third-Party Plaintiff,
                                                            Simon Henry Clark

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                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Counterclaim and Third-
Party Complaint was served upon all counsel of record via the Court ECF system this 19th day of
April 2024.

   [ ] Under penalties as provided by law, the undersigned certifies that the statements set forth in this Certificate
       of Service are true and correct.

                                                               /s/ William D. Patterson




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